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MENTALLY ILL OFFENDER
CRIME REDUCTION GRANT PROGRAM

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AGENCY NAME

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A. IMPACT OF MENTALLY ILL OFFENDERS

In the space below, describe the impact of mentally il! offenders on the local justice system,
particularly on adult or juvenile detention facilities. Include data supporting the described
impact.

Santa Clara County is the seventh largest county in California, with a population
of more than 1.7 million. In FY 05-06, an estimated 8,800 youth had contact with the
Juvenile Justice system, and 2,893 youth were detained in Juvenile Hall with a
disproportionate number of those youth being children of color, The average monthly
Juvenile Hall census in FY 05-06 was 260. Current detention admission screening data
indicate that over 60% of detained youth have significant mental health problems, close
to 80% have had significant exposure to trauma, and 30% have psychiatric
disturbances that impair thinking (Final Report, Santa Clara County Probation
Department, Continuum of Services, by Huskey and Associates, 12/6/05, referred to as
the Huskey Report in this application).

Collaborative efforts involving Juvenile Detention Reform (JDR) and
improvement of custody and community mental health services have been a priority of
local policy makers and department leadership for over a decade. Still, significant gaps
remain in the present continuum of services available to mentally ill and emotionally
disturbed youth involved in the juvenile justice system, from detention to courtroom
decision-making to community aftercare.

Santa Clara County Mental Health Department (MHD) data indicate that 50% of
detained youth have had previous service contacts with the public mental health system
with an additional 30% receiving services for the first time while in detention. A
“Juvenile Probation Needs Assessment Report” prepared by the Santa Clara County

Department of Alcohol and Drug Services in 2000 documents the mental health needs

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of incarcerated youth. Using a validated and normed screening tool of mental health
functioning, the Massachusetts Youth Screening Instrument (MAYSI), 419 youth in
Santa Clara County custody facilities were assessed. Results revealed incarcerated
youth were significantly more impaired than the normed comparison group. Among
youth in county custody, 78% had experienced severe trauma that continued to have an
impact on their lives; 69% had severe substance abuse; 32% had suicidal thoughts;
and 32% had major thought disturbances that seriously affected their ability to
accurately perceive the external environment.

Since 2002 Santa Clara County and a countywide planning committee have
been actively involved in implementing broader Juvenile Detention Reform (JDR) to
eliminate all unnecessary and inappropriate detention of youth in the juvenile justice
system. Through participation in JDR, there has been a 28% decline in the average
daily Juvenile Hall population, a 61% decline in total admissions, and a 55% decrease
in average length of stay. While the juvenile custody population has decreased, rates
of mental illness remain high among incarcerated youth. This is confirmed by the
Huskey report finding that four years after the 2000 Probation Needs Assessment, rates
of behavioral health problems among the detention population remained unchanged
with more than 60% of youth admitted to Juvenile Hall in 2004 identified as having a
psychiatric disorder,

Further, the assessment instrument used by the Probation Department Juvenile
Division (JPD) for the past eight years reveals a greater number of youth being
incarcerated who are mentally ill, addicted to substances, gang involved, criminogenic
in their thinking patterns, and learning disabled. Evidence also shows that families do
not have the coping skills, supports and resources to deal with the challenges, multiple-

needs, and risk behaviors of these youth.

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This disturbing trend continues. In FY05-06, an average of 5 youth per month
were transported from Juvenile Hall to the county psychiatric emergency facility for W&l
Code 5150 evaluations; and 2 youth per month were admitted to psychiatric hospitals,
A snapshot of 360 youth detained in Juvenile Hall and the ranches in June 2006
reveals that 43 youth (12%) were taking psychotropic medications; 14 youth (4%) were
classified as high-risk status requiring 5 or 1 5-minute watches; and forty-four youth
(12%) were waiting placement to an appropriate community treatment facility. In
addition, there were 24 documented incidents involving suicidal gesture or attempt and
29 incidents involving self-directed injury.

B. IDENTIFIED NEEDS

In the space below, describe the identified need(s) that would be addressed with grant funds
{i.¢., the in-custody and/or post-custedy gaps in treatment and/or support services for mentally
ill offenders).

The MiOCR Youth Development Partnership will address gaps in three major
areas of the juvenile justice system of mental health services: (1) assessment and care
management, (2) court decision-making, and (3) specific culturally competent
evidenced-based treatment and psycho-education for youth and parents. These gaps
extend from detention to the post-custody needs of mentally ill and seriously
emotionally disturbed (SED) youth offenders.

Prevalence estimates indicate close to 60% of these youth have significant
mental health needs, if unaddressed, threaten further involvement in the criminal justice
system. Particularly troublesome is the fact that youth of color are over-represented in
the juvenile justice system while they are underrepresented in the mental health service
system, with African American and Latino youth showing high rates of incarceration
relative to their numbers in the general community. For example, in FY05-06 African

American youth 0-17, who represented 3% of the general population, were 12% of the

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intakes to Juvenile Hall, four times their rate in the community. Latino youth, who
represented 31% of the general community, were 66% of the intakes in Juvenile Hall,
twice their rate in the community, while Caucasian and Asian youth rates of intake were
significantly below their rates in the general community. The Huskey Report found a
gap in culturally sensitive programs tailored to the needs of African American and
Latino youth throughout the juvenile justice system.

Assessment and Care Planning. Over the past several years, Mental Health,
Drug and Alcohol Services, Custody Health and Probation staff have implemented a
system to screen all youth detained in Juvenile Hall for health, mental health and
Substance abuse needs. Youth with risk indicators are then assessed further and
offered needed service while in detention. Despite these efforts, multidisciplinary staff
(custody counselors, medical, education, and mental health) continue to find
themselves in a reactive, crisis-driven mode, without effective cross-discipline
coordination or communication. This is evident by the number of crisis referrals,
behavioral incidents, risk watches, and the number of youth cycling between custody
and emergency psychiatric inpatient services.

With assistance of the California Endowment grant-funded Healthy Returns
Initiative (HRI), a collaborative effort was launched in 2005 to improve access and
coordination of mental health and health services for adolescents detained or
adjudicated as court wards. A key component of this effort is Multi-Disciplinary Team
(MDT) staffing to coordinate custody care of youth with mental health needs. This
model has been extremely effective as evidenced by a decline in behavioral crises,
incidents, and hospitalizations among MDT-coordinated youth.

Despite demonstrated results of MDT, present resources are insufficient to

ensure all high-risk detained youth receive MDT plans. Moreover, a lack of program

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resources prevents MDT staff from engaging and working with youth and their families
and successfully linking them to essential aftercare services. One local study found
that "Linkage to community services was unreliable. ... Youths and families, for a
variety of reasons, often wouldn't get—or stay—connected to services. Young people

with medication or treatment needs would often re-offend and be back in custody

' before any coordinated treatment plan could be developed.” (2004 Santa Clara County

Juvenile Mental Health Court study, David Arredondo, M.D., Sandhya Shankar, LCSW,
LMFT, et al.). In addition, the Huskey Report recommended improving strategies to
involve families noting a “lack of intensive family intervention for youth on field
supervision and in custody. ... There is no routine evaluation of the families’ needs.and
ihe families are not required to be involved in the development of their children’s Case
Plan.”

The MIOCR Youth Development Partnership will enhance and improve the
effective MDT process by increasing capacity and extending its responsibilities to
include linkage to and monitoring of aftercare services, more direct involvement of
famities through education and care planning, tracking youth outcomes, and
coordinating youth access to specialized assessments and eligible entitlement and
benefit services.

Court Decision-Making. Juvenile Court judges, public defenders, district
attorneys, and supervising probation officers have consistently expressed an
awareness of the presence of complex mental health issues among juvenile justice-
involved youth and the need for clinical expertise to assist the court in determining the
most clinically indicated course of rehabilitation for mentally ill and SED youth. This
was a predominant concern expressed by juvenile law and justice stakeholders during

the recent Mental Health Services Act (MHSA) planning process. The Huskey Report

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provides further support for an expanded Juvenile Mental Health Treatment Court

(MHTC) caseload to serve more youth, stating that while, “more than 60% of youth in
detention have a diagnosed psychiatric disorder, the Mental Health Caseload reports an
average daily caseload of 15 youth.” The MIOCR Youth Development Partnership will
Support the expansion of another effective approach currently in place in Santa Clara
County by expanding MHTC (detailed below) to ensure that every judge in the Juvenile
Court has treatment court capability, so all mentally ill and SED youth have access to
this effective model of courtroom collaboration and oversight.

In-Custody and Post-Custody Services. The Huskey Report also found the
present system has inadequate aftercare service resources resulting in many mentally
ill and SED juvenile offenders being unserved and underserved. Of course, optimal
service linkages require the availability of appropriate service options. The Santa Clara
County Juvenile Justice Action Plan Update (February, 2004), surveyed 20 community-
based youth service providers. In FY03-04 alone, these organizations sustained nearly
$7,000,000 in cuts from their funding sources. These CBO's estimated that 15,000
unduplicated youth would no longer receive services as a result of these budget cuts.

Unfortunately, the County budget situation has worsened and new cuts are
expected in FY07-08, threatening to further diminish critical community services. While
California voters passed Proposition 63 in November 2004 to supplement local funding
for mental health services (Santa Clara County's current annual allocation for MHSA
treatment services and supports is $13.4 million), Santa Clara County revenue
shortfalls have projected drastic reductions in the county general fund portion of the
MHD budget. The FY07-08 budget reduction target for mental health is $34 million and
will be a devastating blow to the community-based system, resulting in further

restrictions in who will be eligible for usual care services.

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A weaith of information about the unmet mental health needs of juvenile justice-
involved youth also emanated from the MHD's Mental Health Services Act (MHSA)
inclusive and participatory year-long planning process that involved consumers and
their families, providers and system partners, subject experts, and the broader
community in the creation of a well informed Community Services and Supports (CSS)
plan. JPD-involved youth were among two of the nine "focal populations’ identified as a
critical underserved/unserved population, in two age categories—youth between the
ages of 6 and 15 and transition age youth (TAY) between 16 and 25 years of age who
are “aging out" of juvenile justice and foster care systems. The MHSA Juvenile Justice
Strategy Team identified and prioritized several evidenced-based service models
proven effective with mentally ill and SED youth offenders. The state approved CSS
plan will implement Full Service Partnership (wraparound) for 30 juvenile justice
involved youth; and 30 TAY who are “aging out” of foster care and juvenile justice
systems, through wrap strategies modeled on Milwaukee and Transition in Process
(TIP}. MIOCR grant funds will provide treatment services for an additional 125 youth
referred and monitored through the MIOCR Youth Development Partnership.

C. EXISTING RESOURCES

In the space below, explain why existing state and local resources are inadequate to address
the identified need(s).

Currently, the MHD has several programs specifically tailored to serve JPD-
involved youth, yet they are not adequate to meet the need. Those include:

Juvenile Hall and Ranch Mental Health Services. 20 FTE clinicians and 1.0
FTE psychiatrist provide risk screening, crisis response and medication management
services to youth in Juvenile Hall and at the ranches 24 hours/7days a week. The
primary focus of in-custody service is to conduct daily risk assessments and provide

follow-up intervention for youth who have difficulty coping with detention. Of the
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estimated 2,900 youth admitted to Juvenile Hail annually, 100% receive a screening
using the MAYSI instrument, and a set of recommended mental health, substance
abuse, educational, medical and other services in a “Multi-agency Assessment Plan
(MAAP).” The psychiatrist provides psychiatric evaluation and medication management
and clinical staff follows youth referred by custody supervision, medical and education
staff. Given the demand for risk assessment and crisis intervention services, mental
health clinicians have little time to involve parental/family participation in service
Planning or successful engagement in aftercare services. {in addition, custody and
mental health staff have repeatedly expressed a need for more in-custody programming
to support the emotional and behavioral adjustment of youth, such as Health
Realization (HR), a psycho-educational program that is funded on a limited basis
through the Department of Alcohol and Drug Services (DADS).

Mental Health Treatment Court. 1.0 FTE clinician provides assessment and
case management to a caseload of approximately 40 youth in one of the three
courtrooms of the Juvenile Court. Out of an estimated 100 annual referrals to this
court, approximately 35 youth are admitted based on screening criteria. Santa Clara
County pioneered a “therapeutic jurisprudence” model when it initiated the nation’s first
Juvenile Mental Health Treatment Court in 2001. However, Juvenile Mental Health
Treatment Court (also referred to as CITA—Court for the Individualized Treatment of
Adolescents) capacity is. limited. CITA was launched relying solely on_ in-kind
commitments of personnel from several county departments—MHD, JPD, District
Attorney, Public Defender, County Counsel, Courts—as well as pro bono services of a
child psychiatrist who consulted with the Court Team during the development phase.

Within existing capacity, the eligibility criteria restrict services to youth with a
biologically determined mental illness thereby excluding a significant number of youth

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who would otherwise benefit. Similarly, the requirement that youth be eligible for
community care in lieu of detention effectively restricts participation only to those
charged with misdemeanors or non-violent felonies that may be appropriately reduced
to misdemeanor charges. While CITA clearly has demonstrated value, the other two
Santa Clara County juvenile courts need simitar resources as they also handle cases
that involve youth with serious mental health disorders, as well as seriously mentally ill
youth who are charged with felonies and violent crimes. For example, in FY05-06, there
were 3,017 felony arrests of juveniles in the county that represented 2,491 unique
minors who may very well benefit from this treatment model but do not meet the
misdemeanor-only CITA criterion.

Other data point to need that far exceeds present system capacity. For instance,
the prevalence rate for serious biologically based and genetically transmitted mental
iliness among juvenile detainees is estimated to be about 20% and the rate for other
equally debilitating mental ilinesses (including post traumatic stress reactions) is
considerably higher than 20%, probably double the proportion, particularly among girls.
(Juvenile Mental Health Court: Rationale and Protocols, David Arredondo, M.D., et al.,
2001). There is clearly a need for additional clinical resource to expand Treatment
Court and the lack of readily available, specialized, clinical expertise often leads to long
delays in decision-making while further testing is ordered. In the meantime, youth with
mental illness tend to deteriorate pronouncedly while in custody.

Multidisciplinary Team Care Planning. The purpose of the MDT is to
coordinate care among public agencies for high-risk youth and ensure continuity of
health care, appropriate treatment and protection of minors and staff. Currently 1.0
FTE clinician coordinates approximately 8 MDT meetings per month (96 per year),

which offers less than 10% of the annual number of detained youth estimated to have

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mental health needs (1,736 per year) the benefit of this improved coordinated service
planning.

Community-Based Treatment. Several programs are funded to provide
outpatient, wraparound and residential support to approximately 500 juvenile justice-
involved mentally ill and SED youth per year. However, these programs do not have
the capacity to serve all youth in need, the youth are not adequately tracked and care
managed, and there is a lack of adequate resources to serve the highest risk youth.
Following disposition, the court and Probation need more and better options for
community-based aftercare. For a number of years, the MHD has had contracts with
two agencies for wraparound services for youth with serious mental health problems
who are involved with muitiple service delivery systems and who otherwise would be
housed in Level 10 to 14 group home placements. Approximately 30 juvenile justice-
involved youth are served each year. Unfortunately, not only has there been insufficient
funding to provide this level of services for all youth who need it, but the Huskey Report
found that ‘the Wraparound Program has not fully incorporated the Juvenile Court's

expectations for the juveniles involved in the juvenile justice system.”

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A. PROJECT DESCRIPTION

In the space below, describe the proposed Project, including the evidence-based treatment
model upon which it is based, specific services that would be provided, where and when service
delivery would occur, and who would provide services {i.e., project staff by position).

Santa Clara County’s MIOCR Youth Development Partnership will establish and
tie together three related components: (1) multi-disciplinary team planning, care
management and training, (2) expanded treatment court, and (3) intensive aftercare to
better address the needs of the juvenile justice-involved, mentally il] youth and their

families. The proposal responds to recommendations of the National Center for Mental

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Health and Juvenile Justice (NCMHJJ) as described in its “Blueprint for Change: A

Comprehensive Model for the Identification and Treatment of Youth with Mental Health
Needs in Contact with the Juvenile Justice System, January 2006.” The proposed
components will utilize effective and evidenced-based practices as the foundation for
the project design, incorporating each of the "four Cornerstones" that form the
infrastructure of this “Blueprint”: collaboration, identification, diversion, and treatment.

I. Multi-Disciplinary Team Planning, Care Management and Training

MDT Expansion. The first component of the MIOCR Youth Development
Partnership will expand the current Juvenile Hall MDT program through the California
Endowment-funded Healthy Returns Initiative (HRI) launched 1.5 years ago.
Expansion will double the MDT meeting capacity and include any youth with emotional
and behavioral problems who shows poor adjustment while in custody and who needs
coordinated mental health aftercare services. The expanded program will include the
following new functions: (1) coordination of specialized developmental and behavioral
pediatric assessment services, including linkage to parent support and entitled
developmental services, (2) health benefit enrollment services for uninsured youth, (3)
linkage, monitoring and care management of youth referred to evidenced-based
culturally competent aftercare mental health services, and (4) linkage of youth and
parents to bilingual Health Realization, psycho-educational classes.

Grant funds will be used to hire a Program Manager to coordinate the MDT
program and all components of the MIOCR Youth Development Partnership, conduct
Staff training, and monitor community aftercare treatment contracts. One additional
clinical staff will increase the capacity of the Team to provide MDT plans and services
for an additional 144 youth annually. One clerical support position will be funded to
assist in the scheduling of MDT's, completion of written MDT plans, coordination and

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set up of staff and parent trainings, and tracking of MDT’s activities. A half-time analyst
will set up data collection, monitor and analyze MDT activities and outcomes, and assist
in management of contracted services.

MDT is based upon and consistent with principles and practices of the California

Mental Health Department's "Children's System of Care Core Values.” Team members

include a mental health clinical coordinator, mental health primary therapist, child
psychiatrist, custody care staff and supervisors, medical clinic staff, school staff,
probation oificer, family members, client (when appropriate), public defender, and CBO
representatives. The MDT function is facilitated by a Superior Court Standing Order
that allows the sharing of information between agencies in the juvenile justice system
serving youth with health and mental health issues. MDT plans will also be available to
juvenile justice-involved youth who present mental health risk factors that threaten
detention and further involvement in the system. MDT assessments and meetings will
occur in Juvenile Hall, at the ranches, and in the community.

Training. The MDT model includes a heavy emphasis on ongoing staff training.

The current program has implemented a successful staff training effort resulting in a

dramatic decrease in 1:1 youth safety watches as coordinated care planning and staff °

knowledge have increased. Training is currently provided to custody staff, and the
curriculum includes training in child/adolescent development; moral development:
Psychological disorders; crisis theory, diffusion and intervention; psychotropic
medications; suicide prevention and intervention; effective communication; basic group
dynamics; mental health care plans: and behavioral disorders in childhood and
adolescence. MIOCR funding will permit expansion of training to court, public defender,
district attorney, and supervising probation officer staff and will add specific training in

Team Decision Making. Training will also be expanded to include evidence-based

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treatment and increased knowledge about model programs that have emerged from
best research evidence and best clinical experience.

Specialized Assessments. MIOCR funding will allow 50 youth who need
specialized assessment services to receive comprehensive screening and consultation
services from the Center for Learning and Achievement (CLA), a multidisciplinary
assessment center for children with developmental delays, behavioral concems and
learning differences. Youth either will be transported to the centrally located CLA
offices to receive these assessments or the clinical professional/s will go to the
detention facility, depending on youth needs. Youth are seen by a team of specialists
that offer medical, language, educational, psychological, and occupational therapy
evaluations, leading to diagnosis and detailed recommendations. As appropriate,
parents are immediately linked to Parents Helping Parents (PHP), a 30-year-old
nonprofit that supports parents and benefits children with special needs.

Health Realization Education for Youth, Parents and Staff. Grant funds will
pay for contract trainers to provide Health Realization (HR) education to multi-
departmental staff, youth and parents. HR is based on respect for, and certainty of, the
innate mental health and capacity for well-being inherent in every human being. The
goal of HR is to help people realize that this birthright cannot be destroyed by present
circumstances or past experiences and that it is accessible at any moment throughout
our lives. HR is an approach that is applicable to prevention, intervention, and
treatment within all areas of human service; and it is gaining recognition and use
nationally and internationally. HR has been reviewed by the National Institute on Drug
Abuse (NIDA) and identified as a “Promising Program.” Through MIOCR funding, HR
Classes will be expanded from the current schedule of once weekly classes for boys
and girls at Juvenile Hall and each of the ranches. Four additional classes are planned

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for the Hall, including two additional classes at the boy’s ranch, and one additional class

at the girl's ranch. This will provide training for 355 youth (unduplicated) per year.
in addition, two classes will be offered to parents, one in English and one for Spanish-
Speaking families. A total of 150 parents will be provided HR classes.

Benefit Assistance. For a youth who has no form of health insurance, obtaining
Medi-Cal can mean access to needed services that otherwise may not be available.
Creating more access to benefits is an important corollary to the proposed service
expansions. Santa Clara Valley Medical Center, the county hospital, has successfully
contracted for assistance to patients who are initially denied or who need help in
applying for Medi-Cal or other public programs. Utilizing culturaily sensitive, multilingual
staff to obtain necessary documentation, conducting home visits and/or providing
transportation when necessary, and representing families throughout appeal processes,

this contract service has been extremely successful in assisting patients to establish

' payer sources, and this service has proven to be exceptionally cost effective. Through

MIOCR, it is proposed that a well-qualified firm be selected through a request for
proposal process to provide these services, when needed, for 200 project
participants, utilizing a contingency fee model.

The expanded MDT component of the MIOCR Youth Development Partnership
will facilitate stronger and better linkages to in-custody and aftercare services. The
multicultural and multilingual team members will forge stronger bonds with parents and
caregivers and conduct more thorough follow-up on service connections. Related to
this will be the capacity of the MDT’s proposed new .5 FTE health care analyst II and
clerical support staff person to assist the MDT Coordinator in tracking outcomes
through its own databases as well as to respond fully to CSA data collection and
reporting requirements.

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i. Expanded Treatment Court

The second component of the MIOCR Youth Development Partnership will
expand the present Santa Clara County Juvenile Mental Health Court (CITA). Currently,
1.0 FTE Psychiatric Social Worker provides courtroom based clinical services focused
on treatment rather than punishment through collaboration between iegal, mental
heaith, other professionals, parents, families and the community. The MIOCR program
will expand treatment court services and benefits to all juvenile courts by adding two
mental health clinicians (PSWs or MFTs). It is critical that judges have sufficient
information about a youth's treatment history and/or current needs to know how a
mental health disorder may have contributed to the problem behavior or offense and to
make an informed dispositional determination. Every juvenile court judge will be able to
better serve youth offenders with mental health disorders by utilizing the added, on-site
clinical consultation. The additional staffing also will facilitate expansion of the existing
treatment court team model, similar to the widely respected Family Conference Model
or Team Decision-Making, through which key family and community representatives are
convened to jointly agree on a workable plan for the youth.

The current juvenile mental health treatment court has a maximum caseload of
40 youth at any given time. The youth have periodic court appearances for as long as a
year, during which time the judge monitors treatment progress and outcomes and the
team decision-makers (which CITA also refers to as MDTs) continue to meet. Some
youth are stabilized and judicial supervision can end sooner. It is expected that the
proposed expansion will increase the caseload capacity to 120 youth through
specialized, therapeutically oriented court services. The court clinicians will (1) screen

t
and assess juvenile court clients, in some cases in the home, (2) coordinate in-court
case conference meetings and specialized assessments, (3) Participate in MDT

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planning meetings, (4) provide consultation and recommendations to the juvenile court
judges, (5) link clients to aftercare services, (6) assist in training of staff and providers,
and (6) assist in collection of court outcome data.

It should be noted that when substance abuse is severe and determined to be
the predominant disorder, youth will be referred to a concurrent treatment effort within
the juvenile justice system. To the fullest extent possible, however, the proposed
expansion of mental health treatment court services is based on the recognition that
simultaneous treatment of all disorders by a dually trained clinician or a cross-trained
treatment team whose members are competent to treat both substance abuse and
mental health disorders is the most effective approach.

lil. Intensive Aftercare Services

The third grant component will augment current aftercare services with critically
needed evidenced-based community treatment, medication support, and case
management services for youth released from detention. Probation, MHD and DADS
have successfully collaborated to implement. culturally competent, best practice
approaches within juvenile detention and ranch programs. New community services will
be performed by highly qualified community agencies that demonstrate ability to
successfully utilize one or more of the selected, evidence-based practices that have
proven effective in reducing physical, social, behavioral and emotional distress related
to mental health and co-occurring conditions among youth offenders. The service
providers will be selected through a request for proposal process and will be specifically
selected based on demonstrated success in providing culturally competent services to
African American and Latino youth.

To complement their ability to implement the specific service modalities,

contractors selected will receive MHSA-funded training in Motivational Interviewing.

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(This training also will be provided to staff at the Hall and ranches.) Motivational
Interviewing is a clinical approach shown to be effective in engaging criminal justice
clients, substance abusers, and medicat patients in treatment services. In addition, as
a means to reinforce the learning by youth who participate in Health Realization
classes, provider staff will receive HR training.

Through a combination of MIOCR and MHSA funding, 200 youth will receive
intensive aftercare services in home or community settings. The specific
evidence-based modeis that have been selected as aftercare service options will
include:

Brief Strategic Family Therapy (BSFT). This model provides families with tools
to decrease individual and family risk factors through focused interventions and skill
building strategies. It targets conduct problems, associations with anti-social peers,
early substance use, and problematic family relations. BSFT can be implemented in a
variety of settings. The family and BSFT counselor meet either in the program office or
the family's home. BSFT is delivered in 8 to 12 weekly, 1- to 1.5-hour sessions.
Sessions may occur more frequently around crises because these are opportunities for
change. BFST has received recognition from SAMHSA, U.S. Department of Health and
Human Services (Model Program); Society for Prevention Research (Presidential
Award); and Center for Substance Abuse Prevention (Research Award).

Aggression Replacement Training (ART) is a multimodal intervention designed

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to alter the behavior of chronically aggressive youth. it consists of a curriculum of 50

_Pro-social behaviors and is systematically taught to empower and motivate youth to
modify their own anger responsiveness, In “Aggression Replacement Training:
Curriculum and Evaluation," Arnold Goldstein, Syracuse University, and Barry Glick,
New York State Division for Youth, cite the results of several evaluations of ART, two at

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youth correctional facilities in New York State, two at Brooklyn youth agencies serving

gang-involved youth, and elsewhere, Their evaluation “reveals aggression replacement
training to be a multimodal, habilitation intervention of considerable potency with
incarcerated juvenile delinquents. It enhances pro-social skill competency and overt
pro-social- behavior, reduces the level of rated impulsiveness, and .., decreases both
(where possible) the frequency and intensity of acting-out behaviors and enhances the
participants’ levels of mora! reasoning.”

B. TARGET POPULATION

In the space below, identify the project's target population and program eligibility criteria (e.g.,
estimated number of offenders who would participate, criminal history, types of offenders,
diagnostic categories, etc.).

The target population for this project is youth who are screened and assessed
upon detention or determined at any time during detention to have mental health and
co-occurring conditions that threaten development. These youth must be considered to
be at risk for further involvement in the criminal justice system, prolonged detention
and/or removal from home by MDT, Treatment Court, or JPD mental health staff, due to
their mental health conditions. Upon court dispositions, youth may be placed in home
settings and a variety of residential settings. All eligible youth will be on probation and
services will be coordinated by Probation, Court and Mental Health staff. Diagnoses
will include depressive, anxiety, and conduct disorders; psychotic disorders; and post-
traumatic stress disorders. Particular emphasis will be placed on youth who have had
multiple admissions to Emergency Medical Services or psychiatric hospitalizations
within the last few months and those who are on the highest watch status in the Hall
due to suicidal ideations or self-harm gestures. Youth offenses will include felony
charges, excluding the most serious felonies requiring detention {e.g. murder, multiple

violent offenses).

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Table One —- MIOCR Juvenile Justice Youth Development Partnership
Current and Proposed Duplicated Capacity

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I. Assessment & Care Mgmt.

* MDT Meetings & Linkage 96 144 240

" Developmental Assessments 0 50 50

" Health Benefit Assistance 0 200 200
Il. Mental Health Treatment Court 40 80 120
Ill. Treatment & Psycho-Education

= Motivational Interviewing 75 125 200

" Health Realization 71 284 355

* Brief Strategic Fam. Therapy 75 125 200

* Aggression Replacement TX 24 64 88

* Outpatient Usual Care 500 0 500
Total 881 1,072 1,953

oo SECTIONAVEAN GENCY. C BORATION eco Sass

A. COORDINATED PLANNING PROCESS

In the space below, describe the coordinated planning process undertaken to develop the grant
proposal. Following this description, use the table to identify the individuals who participated in
this planning process. Refer to the section on Grant Application Requirements for information
on mandatory representation and, if necessary, extend the table.

The MIOCR Project results from ongoing collaboration in addition to a series of
meetings at which top-level decision-makers were joined by staff from the
agencies/departments shown below. Evaluations of existing and proposed program
components were reviewed. A consensus was reached on the priority project elements

and the highest and best use of MIOCR grant funds. Due to space limitations, the

following is a partial list of participants:

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Sheila Mitchell, Chief Probation Officer, Santa Clara County Probation Department
Nancy Pefia, Director, Santa Clara County Mental Health Department
Robert Garner, Director, Santa Clara County Dept. of Alcohol and Drug Services
Will Lightbourne, Director, Santa Clara County Social Service Agency
David Wong, Principal, Osborne (Juvenile Hall) and Ranch Schools
Paula Mitchell, Assistant Superintendent of Alternative Schools.

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Hon, Richard Loftus, Superior Court; Presiding Judge, Juvenile Division and Juvenile
MH Treatment Court Judge

Mary Greenwood, Santa Clara County Public Defender

Marc Builer, Assistant District Attorney

Laurie Smith, Sheriff, Santa Clara County

Edward Flores, Chief of Santa Clara County Department of Corrections

Hon. Alden Danner, Presiding Judge, Superior Court, County of Santa Clara
Hon. Catherine Gallagher, Assistant Presiding Judge, Superior Court

Hon. Stephen Manley, Judge, Superior Court; Adult MH Treatment Court Judge
Kathy Duque, Deputy Chief Probation Officer, Institutional Services

Joann Dobrzynski, HRI MHD Coordinator, MHD Juvenile Hall Services
Sandhya Shankar, Juvenile MH Treatment Court, Mental Health Coordinator
Peter Antons, Acting Director, MHD Family and Children’s Services Division
Linda Ramus, DADS Prevention Program Analyst, Health Realization Services
Maryann Barry, Associate Director, Acute Psychiatric/Custody Health Services

B. PROJECT COLLABORATION

In the space below, describe the applicant's plan for ongoing collaboration among those who
participated in the planning process and explain the role of each partnering agency/community-
based organization in the project.

Participants have agreed on the formation of a MIOCR Steering Committee to
oversee project implementation and budget usage, monitor services, collect and
evaluate service data and outcomes, and provide regular status reports to local and
state authorities. The Committee will have representation, at a minimum, of Probation,
MHD, DADS, Courts, Public Defender, District Attorney, law enforcement, child welfare,
education, MDT Coordinator, and representatives of the contract service providers.
The Committee will meet at least quarterly and will be convened by the MHD. The role
of each Committee member will be to coordinate project activities within their domains
and report back to the Committee on project status and outcomes. All project partners
are highly committed to project success. Through a Memorandum of Understanding,
the MHD will assume fiscal, management and reporting responsibilities.

Cc. PAST COLLABORATION

In the space below, describe the applicant's involvement in other collaboralive efforts involving
treatment and support services for offenders with mentally illness.

The proposed project builds on the successful collaborative efforts of the key project

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partners in numerous, related undertakings, including (partial list only):

» Previous adult MIOCR project

» Mental Health Services Act planning process

* Development of the existing Juvenile and Adult Mental Health Treatment Courts

» Development and implementation of the Healthy Returns Initiative (Santa Clara
County was one of three counties selected to receive grant funding to improve
culturally competent mental health services for justice system-involved youth.)

" Participation on the Juvenile Detention Reform Committee

* Participation on the Juvenile Justice Coordinating Council |

= Participation on the newly formed Juvenile Hall Advisory Board

SECTION: PROBABILITY GF'succEss

A. LIKELIHOOD OF SUCCESS

In the space below, describe the likelihood that the project would succeed due to the proven
effectiveness of its design (evidence-based treatment model) with the target population. Include
research data.

The likelihood of success of the proposed MIOCR Project is extremely great
because project components are based upon proven effective and positively evaluated
Processes and service models, some of which are already in place. Based on the
premise that the effective rehabilitation of juvenile justice involved mentally ii and SED
youth requires a coordinated and collaborative system of assessment, court decision-
making and supervision, and evidenced-based custody and aftercare interventions, we
are confident that the proposed MIOCR Youth Development Project will establish and
coordinate critical elements of an effective system of care that will have a demonstrated
impact on the involved youth.

Eleven specific outcomes are expected and will be tracked: (1) reduced days in

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custody, (2) reduced recidivism rates; (3) reduced incidents of self-harm and suicide
gestures/attempts in custody; (4) reduced use of emergency/inpatient psychiatric
interventions in custody and in aftercare; (5) reduced number of placement failures: (6)
increased parent involvement and parent effectiveness in supporting their child's
rehabilitation, (7) increased youth enrollment in health and education benefits and
entitlements; (8) increased engagement of Latino and African American youth in
services: (9) increased youth and family perceptions of empowerment and mastery of
child and family challenges: (10) Increased school attendance by involved youth; (11)
increased perceptions of effective collaboration among court, probation, mental health,
and community provider staff.

The MDT concept is based on the successful model of the Children’s System of
Care, Its current, local utilization as a part of the Healthy Returns Initiative is showing

Strong, positive results, In addition, Juvenile mental health courts also have received

positive reviews. The National Center for Mental Health and Juvenile Justice ~

(NCMHJJ) undertook a preliminary investigation of juvenile mental health courts, and
resulted in the identification of ten additional juvenile mental health courts that were
established subsequent to Santa Clara County's. The NCMHJ¥J study, “Juvenile Mental
Health Courts: An Emerging Strategy,” June 2006, acknowledges that while more

research is necessary to examine the impact of these courts on the lives of youth, the

benefits of the courts include: Leverage of the Court in terms of both accessing ~

community mental health services, as well as ensuring youth and family compliance
with treatment requirements; Muilti-disciplinary Approach was viewed as an
opportunity for representatives from multiple systems to work tagether and gain an
understanding of the interests and concerns of other systems; Increased Options and
dispositional alternatives were made available to judges for youth with mental health

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needs; Monitoring Strategies and court supervision are effective ways to increase

compliance with treatment orders; and, Increased Awareness of the lack of

community-based mental health services available to youth helps build support for new

resources.

The study notes that a few of the courts make evidence-based services available
to participating youth, specifically Brief Strategic Family Therapy {(BSFT). Through
MIOCR funding, BSFT will be one of evidence-based service options available for
Santa Clara County’s treatment court clients. SAMHSA evaluations of BSFT have
shown a 42% improvement on conduct problems, 75% reduction in marijuana use, 57%
reduction in association with antisocial peers, and a 75% youth retention rate in BSFET
services.

HR, another aftercare component, is a NIDA-recognized “Promising Practice.”
Health Realization, recognized by NIDA as a “Promising Program,” is based on good
theory and can be replicated but does not yet have the large number of studies and
follow-ups necessary to be listed as a “Best Practice.” However, positive program
outcomes have been documented through eight evaluations, including a Juvenile Hall
and Ranch Study conducted by Santa Clara University last year. The report found that
HR sessions had a positive impact on in-custody youth in the areas of decision-making;
self-esteem for boys; decreased levels of narcissism; family, social life, self-esteem,
school satisfaction, and environmental satisfaction; sustained internal locus of control.
Further, A 2002 pre/post self-assessment of adult mate violent offenders showed a
significant decrease in self-assessment of anxiety, significant increase in general
positive affect (feelings of well-being), and significant increase in feelings of belonging.
Correctional officers as well as an independent evaluator noted significant behavioral
changes.

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Cultural competency will be a cornerstone of all MIOCR Project elements. Aill
MIOCR staff and contract service providers will be required to demonstrate skills in
interviewing and assessing minority individuals, to formulate treatment plans that are
culturally sensitive to the individual and family's concept of health and illness, and to
provide treatment interventions with an understanding of the cultural differences in
treatment expectations. This is consistent with the expertise, abilities and attitudes of
the current MDT members, the Court Team, and other program staff. The MDT and
Juvenile Mental Health Court Team are ethnically and linguistically reflective of the
juvenile populace they serve, and all staff completes in-service training in culturally

competent service provision.

Santa Clara County has been a leader in the development of culturally:

competent mental health services. Ail system providers are required to demonstrate
cultural competency, and the MHD contracts for services with culturally-specific
providers centered in Latino, Asian, African American, Native American, and Eastern
European communities; and the MHD employs an Ethnic Population Services Specialist
who reviews and makes recommendations on issues of cultural competency.

For the past decade, Santa Clara County’s MHD, DADS and Probation also have
been recognized for their needs assessment and research/evaluation efforts. Their
departments and research divisions have successfully completed several projects that
have significantly advanced Santa Clara County's cost-effectiveness, culturally
competent service system design, services research, and program planning and
development. All services provided by the Departments and their contracted programs
are entered into a data base, which maintains client information, clinical information
(diagnoses and functional assessment), quality compliance, and review information

related to treatment plans and types and dates of service delivery. Programs are

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reviewed for the type and amount of services provided in addition to client

demographics. Mental Health provider services are evaluated through the MHD
Performance Evaluation system that has recently implemented annual provider
performance evaluation reports,

The MIOCR Youth Development Partnership has been carefully crafted by a
broad collaborative of key partners, is based on consensus decisions, responds
specifically to gaps in existing services, has received a pledge from all partners of
ongoing participation in project implementation and oversight, and will be the recipient
of a significant amount of complementary, matching services.

B. PAST SUCCESS

In the space below, describe past successes by the applicant in implementing and managing
grant-funded projects (state and/or federal).

Both the applicant and designated agencies have experience in successfully
managing grants and contracts. The MHD will provide fiscal oversight and grant
administration. The two departments will establish all requirements and responsibilities
through a formal MOU. The MHD Administration has extensive experience in the fiscal
management of grants and has responsibility for managing revenue from the state and
federal governments, the County General Fund, fees for service, and numerous grants
and other sources. Its fiscal operations are subject to periodic audits by the County's
Auditor Controller, the California Department of Mental Health, the California
Department of Finance, various grantors, and the federal government. Alll of its records
are available and open for public inspection. The MHD has extensive experience in
program management and the reporting, record maintenance, data collection and
analysis of contracts and programs. The MHD has received numerous other state and

federal grants, such as Substance Abuse and Mental Health Services Administration

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(SAMHSA), Projects for Assistance in Transitions from Homelessness (PATH), Juvenile

Justice Crime Prevention Act (JICPA), and FIRST 5.

Cc. TIMELINE OF ACTIVITIES

Use the table below to list project start-up/implementation activities and anticipated timelines for
the 18-month grant period. If more space is needed, extend the table.

Worse

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Hold first meeting of the MIOCR Project Steering Committee January 2007
Formalize JPD, MHD and DADS Memoranda of Understanding January 2007
Formalize agreed-upon, interagency project protocols February 2007
Recruit, screen and hire project staff January - April '07
Develop request for proposal (RFP) for aftercare services February 2007
Select aftercare service providers and finalize contracts April 2007

Initiate Motivational interviewing training for custody staff and aftercare March 2007
providers

Initiate Health Realization for custody staff February 2007
Select location/s for Health Realization post-custody classes February 2007
Formalize MDT and Court coordination procedures February 2007
Formalize MDT and aftercare service referral criteria and process April 2007

Begin serving youth through expanded eligibility criteria May ‘07 & ongeing
Hold quarterly MIOCR Project Steering Committee meetings ~ | ongoing

Develop data tracking and evaluation procedures per CSA directives ary 2007 andlor
Respond to all CSA fiscal and programmatic reporting requirements ongoing

A. BUDGET LINE ITEM TOTALS: Please fill out the following table for the project's
proposed budget. Although line items may not reflect those used by counties, the CSA uses
these line items for its invoices, so please insert amounts where they fit best. Amounts must be
whole dollars only. Applicants must provide a 25 percent match of the grant funds requested.

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. Salaries and Benefits $646,508 $0 $354,893 | $1,001,401
2. Services and Supplies $64,651 $0 50 $64,651
3. Professional Services $298,867 $0 $0 $298,867 |
4. CBO Contracts $352,961 $0 $930,956 | $1,283,917
5. Indirect Costs $100,985 $0 $0 $100,985
6. Fixed Assets/Equipment — |- $0 $0 $0 $0
7. Other $0 $0 $0 $0
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TOTAL $1,463,972 $0 $1,285,849 | $2,749,821

B. LINE ITEM DETAILS: in the space below each line item, describe how grant funds and
local match funds would be used to implement the project. Please provide sufficient detail to
assess the nexus between the requested grant funds and the proposed project.

1. SALARIES AND BENEFITS:

ve a 2 : ie 1 + a Tale or tate (sie a = ’
1.0 FTE HC Program Manager II |Apr start, $117,733 salary and $52,116 benefits $169,849
3.0 FTE Psych Social Worker II May, Jun, Sep start $247,640 salary and $1 16,537 benefits| $364,177
0.5 FTE HC Program Analyst |} [Oct start, $29,880 salary and $14,046 benefits $43,926
1.0 FTE Sr. Health Svs Rep Sep start. $43,991 salary and $24 566 benefits $68,557
$646,508

ACM ets em elm drm NT
2.0 FTE Psych Social Worker Il

ee MCLE MRT a ere) aa
Annual cost $161,174 salary and $75,421 for 18 months

$354,893

MIOCR funds will be used to hire one Health Care Program Manager who will
oversee the MIOCR Youth Development Partnership and have responsibility for all
three components, This position will supervise MDT and Treatment Court staff and will
monitor all care management activities of YDP, including contracted services and aif
training activities. In addition, MIOCR funds will be used to hire 1.0 FTE clinician to
provide MDT’s, and 2.0 FTE's to provide in-courtroom clinical support to two Juvenile
Court Judges in the expanded Mental Health Treatment Court Program. A .5 FTE
Health Care Analyst II will set up, collect, summarize and prepare reports on program
data to meet CSA Requirements. A 1.0 FTE Senior Health Services Representative will
manage the clerical functions of the YDP programs and will coordinate MDT’s, maintain
client records, enter services in the client data base, and coordinate training. The in-
kind staff includes 1.0 FTE Clinician who currently provides MDT’s and training, and 1.0
FTE Clinician who currently works in the Mental Health Treatment Court.

2. SERVICES AND SUPPLIES:
Office supplies and other program operating expenses are estimated at 10% of

personnel cost ($64,651).
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3. PROFESSIONAL SERVICES:

Benefit Assistance ($70,000). Grant funds will include costs associated with
payment for a qualified benefit assistance provider selected through an RFP process.
Current contracts for similar services are paid at $350 per successful case. The
proposal estimates successful enrollment of 200 youth in health insurance over the 18-
month grant period.

Health Realization Training ($153,867): Grant funds will include the cost of
Health Realization training through contracts with professional trainers @ $225 per hour
x 36 hours x 4 sessions ($32,400), in addition to 624 two-hour client classes @ $170
per class ($106,080), plus 10% administrative cost ($15,387).

Developmental Assessments ($75,000): Grant funds will cover the cost of 50
multidisciplinary assessments at a rate of $1,500 through the Center for Learning and
Achievement (CLA), a specialized pediatric developmental and behavioral assessment
center. CLA will provide screening, diagnostic assessment and written report, family
and staff consultation, and parent advocacy and support to ail referred youth.

4. COMMUNITY-BASED ORGANIZATIONS:
Outpatient Services ($352,961). Grant funds will establish a contract with a

community-based Medi-Cal certified mental health provider with expertise in serving
juvenile justice youth, and in particular, Latino and African American youth for the
provision of evidenced-based outpatient service to 200 youth. Services will include
Brief Strategic Family Therapy, an additional eight ART outpatient groups annually,
psychiatric medication management, and case management ($507,703 in program
expenses offset by $154,742 EPSDT/MediCal). In-kind support will include $930,956

in MHSA funded Full Service Partnership services to thirty Probation referred youth.

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These services will be leveraged by EPSDT/Medi-Cal revenue ($1,723,214 offset by

$792,258 EPSDT/MediCal).

5. INDIRECT COSTS: This total may not exceed 10% of the grant funds.
Grant funds are requested to cover indirect costs of $100,895 (6.9% of grant

funds} estimated at 15.62% of personnel cost based on FY06 actual experience.

6. FIXED ASSETS/EQUIPMENT:
None

7. OTHER

None

Cc. FUNDING REQUEST

In the space below, explain why the amount of funds requested is reasonable and appropriate
given the proposed project’s design and scope. If applicable, describe any other funding
streams that may be used to support the proposed project.

Requested grant funds will support a comprehensive program and provide an
estimated 1,072 mentally ill duplicated youth offenders with essential state-of-the-art
services, from detention to aftercare increasing the current system capacity by 54%,
for an average investment of $1399 per new episode of care. These services will result
in reduced youth days in custody, re-arrests, behavioral incidents in custody, and use
of emergency psychiatric and hospital services. Youth are expected to perform better
in school and at home as a resuit of the support they and their families receive. Court
staff, probation officers, and custody staff will improve their knowledge and skills in
addressing the needs of these youth and will report improved service coordination.
Parents will gain greater knowledge and understanding of the mental health issues
impacting their chifd and will utilize this knowledge to support their child’s development
and emotional well-being. Over $1,285,849 in additional MHSA and Medi-Cal/EPSDT

funding will leverage the effectiveness of the program.

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